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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP.,, ef al, Case No. 14-10979 (CSS)

Debtors.! (Jointly Administered)

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CERTIFICATION OF COUNSEL REGARDING
ORDER SCHEDULING OMNIBUS HEARING DATE

The undersigned co-counsel for Energy Future Holdings Corp., and its debtor affiliates, as
debtors and debtors in possession (collectively, the “Debtors”) in the above-captioned jointly

administered chapter 11 cases (the “Chapter 11 Cases”), hereby certifies that he has consulted with

the Court regarding scheduling an omnibus hearing date for the Chapter 11 Cases and has been
informed that the following date and time is available for an omnibus hearing in the Chapter 11
Cases:

January 19, 2017 at 11:00 a.m. (Eastern Standard Time)

WHEREFORE, the Debtors respectfully request that, pursuant to Rule 2002-1(a) of the
Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
District of Delaware, the Court enter the proposed omnibus hearing date scheduling order,

substantially in the form attached hereto as Exhibit A, at its earliest convenience,

’ The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810, The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number
of debtors in these chapter 11 cases, for which joint administration has been granted, a complete list of the
debtors and the last four digits of their federal tax identification numbers is not provided herein, A complete
list of such information may be obtained on the website of the debtors’ claims and noticing agent at
http:/Awww.efhcaseinfo.com,

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Dated: December 2, 2016
Wilmington, Delaware

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